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 8                            UNITED STATES DISTRICT COURT
 9                          CENTRAL DISTRICT OF CALIFORNIA
10
11   DIANA ALVAREZ,                              Case No. CV 21-8153 PA (PLAx)
12                      Plaintiff,               JUDGMENT OF DISMISSAL
13
           v.
14
     MOLINA HEALTHCARE, INC.,
15
                        Defendant.
16
17
18         In accordance with the Court’s October 18, 2021 Minute Order dismissing this action
19   for lack of subject matter jurisdiction, it is HEREBY ORDERED, ADJUDGED, AND
20   DECREED that the action is dismissed without prejudice.
21
22    DATED: October 18, 2021                     ___________________________________
                                                             Percy Anderson
23                                                  UNITED STATES DISTRICT JUDGE

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